           Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.1 Page 1 of 12



                            UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF CALIFORNIA



                       ARREST ON OUT-OF-DISTRICT OFFENSE

                                                                       CASE NUMBER:                '22 MJ03154


       The person charged as Leo Torres now appears before this United States District Court for an initial

appearance as a result of the matter having been filed in the United States District Court for the Eastern District

of California with: an Indictment for Offense(s) of; Title 21 USC Section(s) 846, 841 (a)(l).; Title 21 USC 841

Section(s) (a)(l).; Title 21 USC 853 Section (a).

       The charging documents and warrant for the arrest of the defendant which was issued by the above

United States District Court are attached hereto.

       I hereby swear under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.


DATED: 08/31 /2022
                                                               - 4-+-_~_ _
                                                             -+(JP                                                 (signature)


                                                              =-P=hi=li""'p--'O"-'-=Tc.. =.o-=-o=le_ _ _ _ _ _ _ _ _ (print)
                                                              Deputy United States Marshal

Reviewed and Approved


DAT1¾~    ½;. 3          '2, 02 'A1
   """-"-~--L....>L=.-- - --'--"¥-
_ _LJ;O                            _ _ _ (signature)
                                 (JV

 a                                 (print)
     Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.2 Page 2 of 12




                                                   i >-ierel?y e&rtlty that the annexed
1 PHILLIP A. TALBERT                    ::1::.trurno: ,t is a true and correct copy of
  Acting United States Attorney
                                        the 01 !ginal on file in my office.                                      FILED
                                        i\TI EST: KEITH BOLLAND
2 JUSTIN J. GILIO                                                                                               Mar 25, 2021
                                        Clerk, U.S. District Court                        ....              CLERK. U.S. DISTRICT COURT
  Assistant United States Attorney      Eastern Di            lifomia                       ;             EASTERN DISTRICT OF CAlif!"ORNIA

3 2500 Tulare Street, Suite 4401
  Fresno, CA 93721                      By___   ~-4-~=::::/-~~:::::;:::.,...._
4 Telephone: (559) 497-4000
  Facsimile: (559) 497-4099
5

6 Attorneys for Plaintiff
  United States of America
7

8                               IN THE UNITED STATES DISTRICT COURT

9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                                  CASE NO.                         I :21 -cr-80 NONE-SKO
11
                                  Plaintiff,                    21 U.S.C. §§ 846, 841(a)(l)- Conspiracy to
12                                                              Distribute and Possess with Intent to Distribute
                           V.                                   Methamphetamine and Heroin; 21 U.S.C. § 84l(a)(l)
13                                                              - Distribution of Methamphetamine and Heroin; 21
     LEO TORRES,                                                U.S.C. § 853(a) - Criminal Forfeiture
14   ALFREDO GARCIA JR., AND
     EV A DOLORES ROMERO,
15
                                 Defendants.
16

17
18                                        INDICTM ENT
     COUNT ONE: [21 U .S.C. § 846, 84l(a)(l)-Con spiracy to Distribute and Possess with Intent to
19               Distribute Methamphetamine and Heroin]

20          The Grand Jury charges: THAT

21                                               LEO TORRES,
                                          ALFREDO GARCIA JR., AND
22                                         EV A DOLORES ROMERO,

23   defendants herein, beginning at a time unknown to the grand jury but no later than on or about

24   December I, 2020, and continuing through on or about January 26, 2021, in the County of Fresno, State

25   and Eastern District of California, did knowingly and intentionally conspire and agree with each other

26   and with persons known and unknown to the Grand Jury to distribute and possess with intent to

27   distribute a controlled substance. The grand jury further charges that the offense involved a mixture or

28   substance containing a detectible amount of heroin, a Schedule I Controlled Substance, in violation of


       INDICTMENT
     Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.3 Page 3 of 12




I    Title 21, United States Code, Sections 846 and 841(a)(l), (b)(l)(C), and at least 5 grams of actual

2 methamphetamine, a Schedule II Controlled Substance, in violation of Title 21, United States Code,
3    Sections 846 and 841(a)(l), (b){l)(B).

4    COUNTTWO: [21 U.S.C. § 841(a)(l)-Distribu tionofHeroinandM ethamphetamine]
5           The Grand Jury further charges: TH AT
6                                LEO TORRES and EVA DOLORES ROMERO
7 defendants herein, on or about January 26, 2021, in the County of Fresno, State and Eastern District of
 8   California, did knowingly and intentionally distribute a controlled substance. The grand jury further

 9 charges that the offense involved a mixture or substance containing a detectible amount of heroin, a
10   Schedule I Controlled Substance, in violation of Title 21, United States Code, Sections 841(a)(l),

11   (b)(l)(C), and at least 5 grams of actual ·methamphetamine, a Schedule II Controlled Substance, in

12   violation of Title 21, United States Code, Sections 841(a)(l), (b)(l)(B).

13   FORFEITURE ALLEGATION: [21 U.S.C. § 853(a)-Criminal Forfeiture]
14           1.     Upon conviction of one or more of the offenses alleged in Counts One through two,

15   defendants LEO TORRES, ALFREDO GARCIA JR., AND EVA DOLORE_S ROMERO shall forfeit to

16 the United States pursuant to Title 21, United States Code, Section 853(a), the following property:

17                  a.      All right, title, and interest in any and all property involved in violations of Title

18   21, United States Code, Section 841 (a)(l ), or conspiracy to commit such offenses, for which defendants

19 are convicted, and all property traceable to such property, including the following: all real or personal
20 property, which constitutes or is derived from proceeds obtained, directly or indirectly, as a result of

21   such offenses; and all property used, or intended to be used, in any manner or part to commit or to

22   facilitate the commission of the offenses.

23                  b.      A sum of money equal to the total amount of proceeds obtained as a result of the

24 offenses, or conspiracy to commit such offenses, for which defendants are convicted.

25           2.     If any property subject to forfeiture, as a result of the offenses alleged in Counts One
26   through Two of this Indictment, for which defendants are convicted:

27                  a.      cannot be located upon the exercise of due diligence;

28                  b.      has been transferred or sold to, or deposited with, a third party;

                                                           2
       INDICTMENT
      Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.4 Page 4 of 12




1                     c.    has been placed beyond the jurisdiction of the Court;

2                     d.    has been substantially diminished in value; or

3                    . e.   has been commingled with other property which cannot be divided without

4                           difficulty;

5 it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to seek
6 forfeiture of any other property of defendants, up to the value of the property subject to forfeiture.
 7                                                                A TRUE BILL.

 8
 9
                                                                         /s/ Signature on file w/AUSA
                                                                  FOREPERSON
10

11    PHILLIP A. TALBERT
      Acting United States Attorney
12
13    ~§-~t!fRRIFF
      Assistant United States Attorney
14
      Chief-Fresno Office
15
·16

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                                                          3
        INDICTMENT
    Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.5 Page 5 of 12




No. _________ _
                                                                                              FILED
                                                                                             Mar 25, 2021
                                                                                          Cl.IRK. U.8. DIITRICT COURT
                                                                                        EASnRN OIITRICT OF CM.EFO..NIA
                               UNITED STATES DISTRICT COURT

                                        Eastern District of California

                                              Criminal Division


                                THE UNITED STATES OF AMERICA
                                                       vs.

                                           LEO TORRES,
                                     ALFREDO GARCIA JR., AND
                                                                                 1:21-cr-80 NONE-SKO
                                      EVA DOLORES ROMERO

                                            INDICTMENT

   VIOLATION(S): 21 U.S.C. §§ 846, 84l(a)(l)-Conspiracy to Distribute and Possess with Intent to
  Distribute Methamphetamine and Heroin; 21 U.S.C. § 84l(a)(l)- Distribution ofMethamphetamine and
                           Heroin; 21 U.S.C. § 853(a) - Criminal Forfeiture




            ,""'""· ___________ -I-Js I __________________ _
                                                   '-/.-;;reman.

            Filed In open courl lhls _ _ · _ _ . _ . _____ day

            of . ____________ , A.D. 20 ____ _



                                                      Clerk.


            Ball,   s _ As Previously Set Issue for two Defendants; No Bail Warrant for Defendant Torres_




                                                   GPO 863 525
                  Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.6 Page 6 of 12


A0257 .
(Rev. 9/92)                                                                                                                                                 PER 18 U.S.C. 3170


           DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION --IN U.S. DISTRICT COURT

BY      O COMPLAINT D INFORMATION                                 181 INDICTMENT                     Name of District Court, and/or Judge/Magistrate Judge Location (City)
          0 SUPERSEDING: Case No .                                                                   UNITED STATES DISTRICT COURT                                             .
...----                                                                                              EASTERN DISTRICT OF CALIFORNIA
     See Indictment
                                                                        0 Petty                                     DEFENDANT- - U.S. vs.
                                                                                                       t      ._I          __
                                                                                                                 _L_Eo_T_o_RRE s _ _ _ _ _ _ _ ___.

                                                                        D Misdemeanor                Address
                                                                                                                     {               1:21-cr-80 NONE-SKO ·

                                                                        181 Felony

   Place of offense
   FRESNO COUNTY
                                                         U.S.C. Citation
                                               See Indictmcot
                                                                                                     Birth
                                                                                                     Date
                                                                                                                     I
                                                                                                     Optional unless a juvenile)
                                                                                                                                                     181 Male

                                                                                                                                                     D Female
                                                                                                                                                                         0 Alien

                                                                                                                                                                         (if applicable)


_ _ _ _ _ _ _ _ _ PROCEEDING
      Name of Complainant Agency; or Person (& Title, if any)                                                                    DEFENDANT
                                                                                                           IS NOT IN CUSTODY
     I HSI SA Andres Varela                                                                          I) 181 Has not been arrested, pending outcome of this proceeding
                                                                                                             If not detained, give date any prior
       □    person is awaiting trial in another Federal or State Court, give name                            summons was served on above charges
                                                                                                     2) D Is a Fugitive
           i°fcourt
                                                                                                     3) D Is on Bail or Release from (show District)
       D this person/proceeding is transferred from another district per
            FRCrP      □ 20        □ 21         □ 40.        Show District                                      IS IN CUSTODY
           I
       D this is a rcprosccution of charges                                                           4)     D On this charge
         previously dismissed which                                                                   5)     D On another conviction
         were dismissed on motion of:                                SHOW                             6)     D Awaiting trial on other charges                  D Fed'l D State
         0 U.S. Att'y O Defense
       D this prosecution relates to a pending
         case involving this same defendant

       181 prior proceedings or appearance(s)
               before U.S. Magistrate Judge
               regarding this defendant were
                                                      l            DOCKET NO.



                                                           ------- --'
                                                                  MAGISTRATE
                                                                JUDGE CASE NO.
                                                                                                                    If answer to (6) is "Yes," show name of institution




                                                                                                             Has detainer
                                                                                                             been filed?
                                                                                                                               D Yes

                                                                                                                               D No
                                                                                                                                               If "Yes,"
                                                                                                                                             } givedate
                                                                                                                                               filed
               recorded under                        ►                                                                              Mo.              Day          Year



                                                                                                                              •
                                                                :2_I_-m_aj_-0_00_1_4-_S_A_B__,
                                                           .___1_
                                                                                                             DATE OF
                                                                                                             ARREST
      Name and Office of Person                                                                              Or . . . if Arresting Agency & Warrant were not Federal
      Furnishing Information on                                                                                                                  Mo.          Day                 Year
                 THIS FORM             !DEBRA DE LA PENA                                                     DATE TRANSFERRED                 '"'-
                                                                                                                                              V
                                          181 U.S. Att'y         0 Other U.S. Agency
                                                                                                             TO U.S. CUSTODY
                                                                                                                                                     ~------ -----'
   Name of Asst U.S.
   Att'y (if assigned)                          JUSTIN GILIO                                          D This report amends AO 257 previously submitted

                                                              ADDITIONAL INFORMATION OR COMMENTS
  [xJ      ADD FORFEITURE UNIT (Check if Forfeiture Allegation)                                  I
 PLEASE ISSUE NO BAIL WARRANT
Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.7 Page 7 of 12




                         United States v. Leo TORRES et al.
                              Penalties for Indictment
Defendant
LEO TORRES

COUNT 1:

VIOLATION:        21 U.S.C. § 846, 841(a)(l), (b)(l)(B) - Conspiracy to Distribute and
                  Possess with Intent to Distribute Methamphetamine and Heroin

PENALTIES:        Mandatory minimum of 5 years in prison and a maximum of up to 40
                  years in prison; or
                  Fine ofup to $5,000,000; or both fine and imprisonment
                  Supervised release of at least 4 years up to life

SPECIAL ASSESSMENT: $100 (mandatory on each count)

COUNT 2:

VIOLATION:        2.1 U.S.C. § 841(a)(l ), (b)(l)(B)-Distribution of Heroin and
                  Metharnphetamine

PENALTIES:        Mandatory minimum of 5 years in prison and a maximum of up to 40
                  years in prison; or
                  Fine ofup to $5,000,000; or both fine and imprisonment
                  Supervised release of at least 4 years up to life

SPECIAL ASSESSMENT: $100 (mandatory on each count)


FORFEITURE ALLEGATION:

VIOLATION:        21 U.S.C. § 853(a) - Criminal Forfeiture

PENALTIES:        As stated in the charging document
              Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.8 Page 8 of 12


A0257·
(Rev. 9/92)                                                                                                                                           PER 18 U.S.C. 3170


          DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - - IN U.S. DISTRICT COURT

BY     D COMPLAINT D INFORMATION                                 181 INDICTMENT                     Name of District Court, and/or Judge/Magistrate Judge Location (City)
         D SUPERSEDING: Case No.                                                                   UNITED STATES DISTRICT COURT
.----
                                                                                                   EASTERN DISTRICT OF CALIFORNIA
     See Indictment

                                                                      0 Petty                                   DEFENDANT- - U.S. vs.
                                                                                                     t I...._A_L_FRE_o_o_G_AR_c_IA_JR._ _ _ _ _ _____.
                                                                      D Misdemeanor                Address
                                                                                                              {           1:21-cr-80 NONE-SKO

                                                                      181 Felony

  Place of offense
  FRESNO COUNTY
                                                       U.S.C. Citation
                                             See Indictment
                                                                                                   Birth
                                                                                                   Date
                                                                                                                I
                                                                                                   Qptional unless a juvenile)
                                                                                                                                           181 Male

                                                                                                                                           D Female
                                                                                                                                                                 D Alien

                                                                                                                                                                 (if applicable)


_ _ _ _ _ _ _ _ _ PROCEEDING
      Name of Complainant Agency, or Person (& Title, if any}                                                               DEFENDANT
                                                                                                       IS NOT IN CUSTODY
     I HSI SA Andres Varela                                                                        I) D Has not been arrested, pending outcome of this proceeding

      □ person is awaiting trial in another Federal or State Court, give name
                                                                                                         lfnot detained, give date any prior
                                                                                                         summons was served on above charges
                                                                                                   2) D ls a Fugitive
                                                                                                                                                          ~   ____              __,
        orcourt
       1                                                                                           3) D ls on Bail or Release from (show District)
      D this person/proceeding is transferred from another district per
        FRCrP O 20           0 21           0 40. Show District                                               IS IN CUSTODY
          I
      D this is a rcprosecution of charges                                                         4)      181 On this charge
        previously dismissed which                                                                 5)      0 On another conviction
        were dismissed on motion of:                               SHOW                            6)      D Awaiting trial on other charges       } D Fed') D State
        0 U.S. Att'y O Defense                                   DOCKET NO.                                    If answer to (6) is "Yes," show name of institution
      D this prosecution relates to a pending
        case involving this same defendant         }
                                                       I._____
      181 prior proceedings or appearance( s)                                                                            181 Yes        If "Yes,"
                                                                                                        Has detainer
          before U.S. Magistrale Judge                        MAGISTRATE                                been filed?                   } give date
          regarding this defendant were                     JUDGE CASE NO.                                               D No           filed                   3/17/2021
          recorded under                         ►                                                                            Mo.          Day            Year
                                                                                 -S_A_B____,
                                                            :2_1_-m_..1i_-0_00_1_4_
                                                       .___l_
                                                                                                        DATE OF
                                                                                                        ARREST           t1                     3/16/2021
     Name and Office of Person                                                                          Or .. . if Arresting Agency & Warrant were not Federal
     Furnishing Information on
              THIS FORM             IDEBRA DE LA PENA
                                      181 U.S. Att'y         0     Other U.S. Agency
                                                                                                           DA TE TRANSFERRED
                                                                                                        TO U.S. CUSTODY                Q._      _________
                                                                                                                                               Mo.        Day            Year
                                                                                                                                                                                   .....

  Name of Asst U.S.
  Att'y (if assigned)                        JUSTIN GILIO                                          D This n:port amends AO 257 previously submitted

                                                          ADDlTIONAL INFORMATION OR COMMENTS
  [xJ     ADD FORFEITURE UNIT (Check if Forfeiture Allegation)                                 j
PRELIMINARY EXAMINATION HEARING set for 3/31/2021 at 02:00 PM SKO
Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.9 Page 9 of 12




                        United States v. Leo TORRES et al.
                             Penalties for Indictment
Defendant
ALFREDO GARCIA JR.

COUNT 1:

VIOLATION:        21 U.S.C. § 846, 841(a)(l), (b)(l)(B)-Con spiracy to Distribute and
                  Possess with Intent to Distribute Methamphetamine and Heroin

PENALTIES:        Mandatory minimum of 5 years in prison and a maximum of up to 40
                  years in prison; or
                  Fine ofup to $5,000,000; or both fine and imprisonment
                  Supervised release of at least 4 years up to life

SPECIAL ASSESSMENT: $100 (mandatory on each count)


FORFEITURE ALLEGATION:

VIOLATION:        21 U.S.C. § 853(a) - Criminal Forfeiture

PENALTIES:        As stated in the charging document
              Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.10 Page 10 of 12


AO257•
(Rev. 9/92)                                                                                                                                PER 18 U.S.C. 3170

         DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - - IN U.S. DISTRICT COURT

BY      D COMPLAINT            D INFORMATION                 18:1 INDICTMENT            Name of District Court, and/or Judge/Magistrate Judge Location (City)
,---
     D SUPERSEDING: Case No.                                                           UNITED STATES DISTRICT COURT
                                                                                       EASTERN DISTRICT OF CALIFORNIA
     See Indictment

                                                                 D Petty                              DEFENDANT - - U.S. vs.
                                                                                                      EVA DOLORES ROMERO

                                                                                                                       1:21-cr-80 NONE-SKO
                                                                 D Misdemeanor         Address
                                                                                                        {
                                                                 181 Felony

   Place or offense
   FRESNO COUNTY
                                                       U.S.C. Citation
                                             See Indictment
                                                                                       Birth
                                                                                       Date            [                          □ Male

                                                                                                                                  181 Female
                                                                                                                                                      □ Alien

                                                                                                                                                      (if applicable)

                                                                                       Optional unless a juvenile)
- - - - - - - - - PROCEEDING
   Name or Complainant Agency, or Person (& Title, if any)                                                       DEFENDANT
                                                                                           IS NOT IN CUSTODY
     I HSI SA Andres Varela                                                            1) D Has not been arrested, pending outcome of this proceeding
                                                                                             If not detained, give date any prior
      D person is awaiting trial in another Federal or State Court, give name                summons was served on above charges
         i°fcourt                                                                      2) D Is a Fugitive
                                                                                       3) D 1s on Bail or Release from (show District)
      D this person/proceeding is transferred from another district per
        FRCrP D 20          D 21           D 40.      Show District                                  IS IN CUSTODY
         I
      D this is a reprosecution of charges                                             4)      181    On this charge
        previously dismissed which                                                     5) D           On  another conviction
        were dismissed on motion of:                           SHOW                    6) D           Awaiting trial on other charges      } D Fed'l D State
        □ U.S. Att'y       □ Defense                         DOCKET NO.                               If answer to (6) is "Yes,'' show name of institution
      D this prosecution relates to a pending
        case involving this same defendant

      181 prior proceedings or appearance( s)                                                                    D Yes         If "Yes,"
                                                                                            Has detainer
          before U.S. Magistrate Judge                         MAGlSTRATE                   been filed?                      } givedate

                                                         __                                                     .,
          regarding this defendant were                     JUDGE CASE NO.                                       181 No        filed
          recorded under                          ► ......_ l:21-mi-00014-SAB
                                                                 ..,__'--'------                                       Mo.        Day          Year
                                                                                            DATE OF
                                                                                            ARREST                                  3/18/2021
     Name and Office of Person                                                              Or . . . if Arresting Agency & Warrant were not Federal
     Fwnishing Information on                                                                                                     Mo.          Day            Year
              TIBS FORM             !DEBRA DE LA PENA                                       DATE TRANSFERRED

                                      181 U.S. Att'y       D Other U.S. Agency
                                                                                            TO U.S. CUSTODY                  r>   L...----------J


  Name of Assl U.S.
  Att'y (if assigned)                        JUSTIN GILIO                              D This report amends AO 257 previously submitted

                                                        ADDIT!ONAL INFORMATION OR COMMENTS
  [xJ    ADD FORFEITURE UNIT (Check if Forfeiture Allegation)                      I
 NEXT COURT DATE DETENTION HEARING set for 3/24/2021
Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.11 Page 11 of 12




                          United States v. Leo TORRES et al.
                               Penalties for Indictment
Defendant
EVA DOLORES ROMERO

COUNT 1:

 VIOLATION:        21 U.S.C. § 846, 841.(a)(l), (b)(l)(B)- Conspiracy to Distribute and
                   Possess with Intent to Distribute Methamphetamine and Heroin

 PENALTIES:        Mandatory minimum of 5 years in prison and a maximum of up to 40
                   years in prison; or
                   Fine ofup to $5,000,000; or both fine and imprisonment
                   Supervised release of at least 4 years up to life

 SPECIAL ASSESSMENT: $100 (mandatory on each count)

 COUNT 2:

 VIOLATION:        21 U.S.C. § 841(a)(l), (b)(l)(B)- Distribution of Heroin and
                   Methamphetamine

 PENALTIES:        Mandatory minimum of 5 years in prison and a maximum of up to 40
                   years in prison; or
                   Fine of up to $5,000,000; or both fine and imprisonment
                   Supervised release of at least 4 years up to life

 SPECIAL ASSESSMENT: $100 (mandatory on each count)


 FORFEITURE ALLEGATION:

 VIOLATION:        21 U.S.C. § 853(a) - Criminal Forfeiture

 PENALTIES:        As stated in the charging document
            Case 3:22-mj-03154-AGS Document 1 Filed 08/31/22 PageID.12 Page 12 of 12



AO 442 (Rev. 11111) Arrest Warrant



                                             UNITED STATES DISTRICT COURT
                                                                     for the

                                                           Eastern District of California


                       United States of America
                                    V.                                 )
                                                                       )       Case No.     I :2 l-cr-80 NONE-SKO
                            LEO TORRES                                 )
                                                                       )
                                                                       )
                                                                       )
                                 Defendant


                                                         ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
                                     LEO TORRES
(name ofperson to be arrested)
                                   -  - - -- - - -- - - - - - -- - -- - - -- - - -- - - - - - - --
who is accused         of an offense or violation based on the following document filed with the court:

r-/   Indictment             0    Superseding Indictment       0 Information       0 Superseding Information            0 Complaint

0 Probation Violation Petition                 0 Supervised Release Violation Petition      0 Violation Notice          0 Order of the Court

This offense is briefly described as follows:
   21 U.S .C. § 846, 841 (a)(1 ), (b)(1 )(B) - Conspiracy to Distribute and Possess with Intent to Distribute Methamphetami ne
   and Heroin
   21 U.S.C. § 841(a)(1), (b)(1)(B)- Distribution of Heroin and Methamphetami ne
   21 U.S .C. § 853(a) - Criminal Forfeiture




Date: _ _0_3_/2_5_/2_0_2_1 _ _
                                                                                             Issuing officer's signature


                          Fresno, CA                                           Erica P. Grosjean, U.S. Magistrate Judge
City and state:
                                                                                               Printed name and title


                                                                     Return

           This warrant was received on (date) _ _ _ _ _ _ _ , and the person was arrested on (date)
 at (city and state)


 Date: _ _ _ _ _ _ __
                                                                                            Arresting officer ·s signature



                                                                                               Printed name and title
